Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                      Desc: Main
                          Document Page 1 of 13


                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF PUERTO RICO

   IN RE:
                                                               CASE NO. 11-06637 (MCF)
   JUAN CARLOS BALCELLS GALLARETA
                                                               CHAPTER 7
             Debtor

                                                               ADV. NO. 14-00137
   NOREEN WISCOVITCH RENTAS
   CHAPTER 7 TRUSTEE

          Plaintiff

             v.

   AMARILIS GONZÁLEZ GARCÍA

          Defendant


        MOTION REQUESTING SUBPOENAS FOR WALGREENS AND OTHERS

 TO THE HONORABLE COURT:

        COMES NOW defendant, Amarilis González García (“Defendant”), through the

 undersigned attorney, and respectfully STATES and PRAYS:

        1.        Defendant has reasonable belief that Debtor 1) may have illegally transferred

 personal assets, prior to the filing of the Chapter 7 petition, to Gusupa, Inc. (“Gusupa”), a

 corporation where he was the president and had total control; 2) understated his income and

 earnings when filing the Chapter 7 petition; 3) understated his assets and, therefore, the assets of

 the estate, when filing the Chapter 7 petition; 4) failed to include his participation in Gusupa;

 among other things that impede Defendant, one of Debtor’s largest creditors, to really assess the

 assets Debtor’s estate possess to pay creditors off.




                                                                                                   1
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                        Desc: Main
                          Document Page 2 of 13


         2.     If new assets or income and/or earnings are discovered, Defendant as one of the

 largest creditors, will benefit from the opportunity to recover a larger portion of the $174,128.00

 debt in domestic support obligations, as included in Defendant’s proof of claim, an obligation

 which has significantly increased since the filing of the proof of claim almost 7 years ago.

         3.     Also, if new assets or income and/or earnings are discovered, the current adversary

 proceeding may be moot, since Trustee will have additional assets to pay creditors off.

         4.     In Debtor’s 341 meeting, Debtor admitted that he acted as owner of the Gusupa to

 receive commercial lending since his parents, who he claims are the ‘real’ owners, did not have

 the sufficient credit strength to receive the commercial loan. Debtor’s father admitted to the same

 in the 341 meeting in Bankruptcy case no. 11-07334. Debtor also admitted that he possessed no

 personal motor vehicle and that, instead, he was using a Gusupa’s company car even after he

 stopped working in Gusupa.

         5.     Defendant has also demonstrated previous strange dealings of Gusupa which may

 be related to Debtor’s presidency, including the sale of real estate property of Gusupa to a family

 member for significantly less than its market value; the rent of real estate property of Gusupa,

 where Gusupa assumed all costs but a third party received all the rents and benefits; and the

 commercial lending were Debtor and Defendant, before the divorce, appeared as sole owners of

 Gusupa, Debtor representing to the bank that Gusupa had a $1,000,000.00 value. These findings

 were included as part of Docket no. 34, in Carol Martínez Iserni’s forensic report dated June 4,

 2013.

         6.     Defendant needs to know the total amount of assets of the estate before the hearing

 on the merits of this adversary proceeding and said information can only be obtained with the




                                                                                                  2
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                     Desc: Main
                          Document Page 3 of 13


 cooperation of third parties. This information is crucial to Defendant’s counterclaim, filed as

 Docket no. 12.

        7.      In order to determine the assets and other related property for proper adjudication

 of this case, Defendant hereby requests, pursuant to Bankruptcy Rule 9016 and Rule 45 of the

 Federal Rules of Civil Procedures, that this Honorable Court issues an Order to WALGREEN OF

 PUERTO RICO, PUERTO RICO CVS PHARMACY LLC, CVS PR CENTER, INC., WAL-

 MART PUERTO RICO, INC., LUMA, INC., PUERTO RICO DRUG COMPANY, INC., EL

 MARKET PUERTO RICO CORPORATION, GARBO MODE LLC, CARIBBEAN TRADING

 COMPANY,         INC.,   MIAMI    SOUVENIRS,       E.   MORAN,       INC.,   EL    COLMADITO

 DISTRIBUTORS CORP., their subsidiaries and affiliates, or any other related entities (the

 “Pharmacies”) to issue a certification informing and submitting copies of all documents related to

 the purchase and sale any type of product for commerce in which appear the names GUSUPA

 INC, with taxpayer identification number XX-XXX3843; and JUAN CARLOS BALCELLS

 GALLARRETA, social security number XXX-XX-1825; JUAN BALCELLS GRAU, social

 security number XXX-XX-1775; LEONIE GALLARRETA OTHEGUY social security number

 XXX-XX-6593 (the “Individuals”), and with any other natural or judicial names participating in

 any forms of commerce; it is requested that a copy of every document from 2005 up to present is

 produced.

        8.      It is requested from this Honorable Court to order the Pharmacies to issue a

 certification informing and submitting copies of all documents related to the following:

             A. Copy of all documents related to import and export of any type of cargo being

                moved by maritime transportation in which the name GUSUPA and the Individuals

                appear in connection with the engagement in any form of commercial transaction;



                                                                                                 3
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                    Desc: Main
                          Document Page 4 of 13


          B. Copy of any statement, requests for credit or credit offerings, bonds, policies, of

             any type, that are owned in their individual character or jointly with any natural or

             judicial person; a detailed breakdown of payments is hereby requested along with

             copies of any related checks from the date of origin of the account up to present. In

             relation to each of the accounts, provide and certify the following:

                 a. For each one provide: (a) insurance policy and account numbers; (b) types

                     of insurance; (c) date of origination; (d) date of cancellation; (e) invoice

                     information; (f) related banking entities; (g) persons or entities authorized

                     to receive invoices; (h) persons or entities authorized to issue payments;

                 b. Monthly record of each account balances from opening to present;

                 c. Provide copies of all monthly statements of each of the accounts from

                     opening up to present;

                 d. Provide copies of lists with monthly details of each product purchased from

                     GUSUPA from 2005 up to present. If a product was stopped being

                     purchased during that period, state which other supplier supplies the goods

                     no longer being purchased from GUSUPA.

                 e. Provide copy of all loan applications, credit applications, credit lines, notes

                     and any other from the opening of the account up to present. If the

                     Pharmacies stopped purchasing a product during that period, indicate

                     reasons why the service was cancelled or changed;

                 f. State the name of the suppliers of souvenirs products in Puerto Rico from

                     which you purchase souvenirs.




                                                                                                  4
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                       Desc: Main
                          Document Page 5 of 13


                     g. Provide copy of any information or document or related to the business,

                         purchase and sale of souvenirs and any other products from GUSUPA, the

                         Individuals, or related natural or judicial persons.

              C. Copy of any document related to each Purchase/Sale Order of any product in which

                 GUSUPA or the Individuals appear for import and export of any product in which

                 GUSUPA and any of the Individuals appear as a party or as a commercial reference,

                 intermediary, or in any other form related to the sale of products.

              D. Information and documents related to carrier services, freight, bonds, guarantees,

                 insurance, Audited Financial Statements, letters, liability waivers, among others are

                 hereby requested.

        9.       The information and documents requested herein shall be issued to the undersigned

 to the following address P.O. Box 9022074, San Juan, Puerto Rico 00902-2074 and to

 cgarcia@garciariveralaw.com within a term of ten (10) days from the date of notification of the

 Order. Failure to comply with this Order may result in the Banks being found in contempt of this

 Honorable Court.

        10.      If requested by this Honorable Court, Defendant can file a motion under seal with

 the complete social security numbers of the people of interest and the taxpayer identification

 number of Gusupa.

        WHEREFORE, it is requested that this Honorable Court hereby grant Defendant Motion

 Requesting Subpoenas for the Pharmacies and any other legal remedy that Defendant is entitled

 to.

        RESPECTFULLY SUBMITTED.
        San Juan, Puerto Rico, this 17th day of May, 2018.


                                                                                                    5
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                           Desc: Main
                          Document Page 6 of 13


         I HEREBY CERTIFY that on this same date I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF System which will send notification of such filing to the

 participants appearing in said record, including the Debtor and Chapter 7 Trustee; and that this

 motion was sent by first class mail to Walgreen of Puerto Rico, Inc. at The Prentice-Hall

 Corporation    System,     Puerto    Rico,    Inc.,   c/o   Fast   Solutions,   LLC,     Citi   Tower,

 252 Ponce de Leon Ave., Floor 20, San Juan, P.R. 00918; Puerto Rico CVS Pharmacy, L.L.C. at

 Cancio, Nadal, Rivera & Diaz, P.S.C., P.O. Box 364966, San Juan, P.R. 00936-4966; CVS PR

 Center, Inc., at Martinez, Odell & Calabria, LLC, P.O. Box 190998, San Juan, P.R. 00919-0998;

 Wal-Mart Puerto Rico, Inc., at CT Corporation System, P.O. Box 9022946, San Juan, P.R. 00902-

 2946; Luma, Inc., at P.O. Box 9021597, San Juan, P.R. 00902-1597; Puerto Rico Drug Company,

 Inc., at P.O. Box 9020267, San Juan, P.R. 00902; El Market Puerto Rico Corporation at PMB 305,

 1357 Ashford Ave., San Juan, P.R. 00907; Garbo Mode, LLC, at Calderón de la Barca W4-10,

 Urb. Húcares, San Juan, P.R. 00926; Caribbean Trading Company, Inc., at 3 Principal Rd., Palmer,

 P.R. 00721; Miami Souvenirs, 1600 N.W. 165th St., Miami Gardens, FL 33169; E. Moran, Inc., at

 P.O. Box 355, Sabana Seca, Toa Baja, P.R. 00952; El Colmadito Distributors Corp. at Ave. Palma

 Real A12, Urb. El Valle, Caguas, P.R. 00727; and to Juan Balcells Grau and Leonie Gallarreta

 Otheguy at P.O. Box 1012, San Juan, P.R. 00936.

                                                NOTICE

 Within fourteen (14) days after service as evidenced by the certification, and an additional three
 (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against whom
 this paper has been served, or any other party to the action who objects to the relief sought herein,
 shall serve and file an objection or other appropriate response to this paper with the clerk’s office
 of the United States Bankruptcy Court for the District of Puerto Rico. If no objection or other
 response is filed within the time allowed herein, the paper will be deemed unopposed and may be
 granted unless: (i) the requested relief is forbidden by law; (ii) the requested relief is against public
 policy; or (iii) in the opinion of the court, the interest of justice requires otherwise.

                                                 s/ CARLOS G. GARCÍA MIRANDA

                                                                                                        6
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27       Desc: Main
                          Document Page 7 of 13


                                    USDC-PR 302101
                                    E-mail: cgarcia@garciariveralaw.com
                                    García & Rivera LLC
                                    Miramar Plaza
                                    954 Ponce de León Ave., Suite 707-E
                                    San Juan, P.R. 00907
                                    Tel.: 787-236-4244




                                                                                 7
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                     Desc: Main
                          Document Page 8 of 13


                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF PUERTO RICO

   IN RE:
                                                              CASE NO. 11-06637 (MCF)
   JUAN CARLOS BALCELLS GALLARETA
                                                              CHAPTER 7
          Debtor

                                                             ADV. NO. 14-00137
   NOREEN WISCOVITCH RENTAS
   CHAPTER 7 TRUSTEE

         Plaintiff

          v.

   AMARILIS GONZÁLEZ GARCÍA

         Defendant


                                             ORDER

 TO: WALGREEN OF PUERTO RICO, PUERTO RICO CVS PHARMACY LLC, CVS PR

 CENTER, INC., WAL-MART PUERTO RICO, INC., LUMA, INC., PUERTO RICO

 DRUG COMPANY, INC., EL MARKET PUERTO RICO CORPORATION, GARBO

 MODE LLC, CARIBBEAN TRADING COMPANY, INC., MIAMI SOUVENIRS, E.

 MORAN, INC., EL COLMADITO DISTRIBUTORS CORP., their subsidiaries and affiliates,

 or any other related entities (the “Pharmacies”), pursuant to Bankruptcy Rule 9016 and Rule 45 of

 the Federal Rules of Civil Procedures, to issue a certification informing and submitting copies of

 all documents related to the purchase and sale any type of product for commerce in which appear

 the names GUSUPA INC, with taxpayer identification number XX-XXX3843 (“GUSUPA”); and

 JUAN CARLOS BALCELLS GALLARRETA, social security number XXX-XX-1825; JUAN

 BALCELLS GRAU, social security number XXX-XX-1775; LEONIE GALLARRETA


                                                                                                 8
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                      Desc: Main
                          Document Page 9 of 13


 OTHEGUY social security number XXX-XX-6593 (the “Individuals”), and with any other natural

 or judicial names participating in any forms of commerce; it is ordered that a copy of every

 document from 2005 up to present is produced.

    1. The Pharmacies are ordered to issue a certification informing and submitting copies of all

        documents related to the following:

        A. Copy of all documents related to import and export of any type of cargo being moved

           by maritime transportation in which the name GUSUPA and the Individuals appear in

           connection with the engagement in any form of commercial transaction;

        B. Copy of any statement, requests for credit or credit offerings, bonds, policies, of any

           type, that are owned in their individual character or jointly with any natural or judicial

           person; a detailed breakdown of payments is hereby requested along with copies of any

           related checks from the date of origin of the account up to present. In relation to each

           of the accounts, provide and certify the following:

                       a. For each one provide: (a) insurance policy and account numbers; (b)

                          types of insurance; (c) date of origination; (d) date of cancellation; (e)

                          invoice information; (f) related banking entities; (g) persons or entities

                          authorized to receive invoices; (h) persons or entities authorized to issue

                          payments;

                       b. Monthly record of each account balances from opening to present;

                       c. Provide copies of all monthly statements of each of the accounts from

                          opening up to present;

                       d. Provide copies of lists with monthly details of each product purchased

                          from GUSUPA from 2005 up to present. If a product was stopped being


                                                                                                   9
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                    Desc: Main
                          Document Page 10 of 13


                          purchased during that period, state which other supplier supplies the

                          goods no longer being purchased from GUSUPA.

                     e. Provide copy of all loan applications, credit applications, credit lines,

                          notes and any other from the opening of the account up to present. If the

                          Pharmacies stopped purchasing a product during that period, indicate

                          reasons why the service was cancelled or changed;

                     f. State the name of the suppliers of souvenirs products in Puerto Rico

                          from which you purchase souvenirs.

                     g. Provide copy of any information or document or related to the business,

                          purchase and sale of souvenirs and any other products from GUSUPA,

                          the Individuals, or related natural or judicial persons.

       C. Copy of any document related to each Purchase/Sale Order of any product in which

          GUSUPA or the Individuals appear for import and export of any product in which

          GUSUPA and any of the Individuals appear as a party or as a commercial reference,

          intermediary, or in any other form related to the sale of products.

       D. It is hereby requested information and documents related to carrier services, freight,

          bonds, guarantees, insurance, Audited Financial Statements, letters, liability waivers,

          among others.

       E. Defendant and the Pharmacies served with this Subpoena must comply with the

          requirements set forth in Rule 45 of the Federal Rules of Civil Procedures which state,

          among others that:

              (d) PROTECTING A PERSON SUBJECT TO A SUBPOENA; ENFORCEMENT.
                 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
              responsible for issuing and serving a subpoena must take reasonable steps

                                                                                                10
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                     Desc: Main
                          Document Page 11 of 13


             to avoid imposing undue burden or expense on a person subject to the
             subpoena. The court for the district where compliance is required must
             enforce this duty and impose an appropriate sanction—which may include
             lost earnings and reasonable attorney's fees—on a party or attorney who
             fails to comply.
               (2) Command to Produce Materials or Permit Inspection.
               (A) Appearance Not Required. A person commanded to produce
             documents, electronically stored information, or tangible things, or to
             permit the inspection of premises, need not appear in person at the place of
             production or inspection unless also commanded to appear for a deposition,
             hearing, or trial.
                (B) Objections. A person commanded to produce documents or tangible
             things or to permit inspection may serve on the party or attorney designated
             in the subpoena a written objection to inspecting, copying, testing or
             sampling any or all of the materials or to inspecting the premises—or to
             producing electronically stored information in the form or forms requested.
             The objection must be served before the earlier of the time specified for
             compliance or 14 days after the subpoena is served. If an objection is made,
             the following rules apply:
               (i) At any time, on notice to the commanded person, the serving party
             may move the court for the district where compliance is required for an
             order compelling production or inspection.
                (ii) These acts may be required only as directed in the order, and the order
             must protect a person who is neither a party nor a party's officer from
             significant expense resulting from compliance.
               (3) Quashing or Modifying a Subpoena.
               (A) When Required. On timely motion, the court for the district where
             compliance is required must quash or modify a subpoena that:
               (i) fails to allow a reasonable time to comply;
                (ii) requires a person to comply beyond the geographical limits specified
             in Rule 45(c);
               (iii) requires disclosure of privileged or other protected matter, if no
             exception or waiver applies; or
               (iv) subjects a person to undue burden.
               (B) When Permitted. To protect a person subject to or affected by a
             subpoena, the court for the district where compliance is required may, on
             motion, quash or modify the subpoena if it requires:
                (i) disclosing a trade secret or other confidential research, development,
             or commercial information; or

                                                                                               11
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                   Desc: Main
                          Document Page 12 of 13


               (ii) disclosing an unretained expert's opinion or information that does not
             describe specific occurrences in dispute and results from the expert's study
             that was not requested by a party.
               (C) Specifying Conditions as an Alternative. In the circumstances
             described in Rule 45(d)(3)(B), the court may, instead of quashing or
             modifying a subpoena, order appearance or production under specified
             conditions if the serving party:
               (i) shows a substantial need for the testimony or material that cannot be
             otherwise met without undue hardship; and
               (ii) ensures that the subpoenaed person will be reasonably compensated.
               (e) DUTIES IN RESPONDING TO A SUBPOENA.
                (1) Producing Documents or Electronically Stored Information. These
             procedures apply to producing documents or electronically stored
             information:
               (A) Documents. A person responding to a subpoena to produce
             documents must produce them as they are kept in the ordinary course of
             business or must organize and label them to correspond to the categories in
             the demand.
                (B) Form for Producing Electronically Stored Information Not
             Specified. If a subpoena does not specify a form for producing electronically
             stored information, the person responding must produce it in a form or
             forms in which it is ordinarily maintained or in a reasonably usable form or
             forms.
                (C) Electronically Stored Information Produced in Only One Form. The
             person responding need not produce the same electronically stored
             information in more than one form.
                (D) Inaccessible Electronically Stored Information. The person
             responding need not provide discovery of electronically stored information
             from sources that the person identifies as not reasonably accessible because
             of undue burden or cost. On motion to compel discovery or for a protective
             order, the person responding must show that the information is not
             reasonably accessible because of undue burden or cost. If that showing is
             made, the court may nonetheless order discovery from such sources if the
             requesting party shows good cause, considering the limitations of Rule
             26(b)(2)(C). The court may specify conditions for the discovery.
               (2) Claiming Privilege or Protection.
                (A) Information Withheld. A person withholding subpoenaed
             information under a claim that it is privileged or subject to protection as
             trial-preparation material must:
               (i) expressly make the claim; and

                                                                                             12
Case:14-00137-MCF Doc#:135 Filed:05/17/18 Entered:05/17/18 16:13:27                     Desc: Main
                          Document Page 13 of 13


                  (ii) describe the nature of the withheld documents, communications, or
               tangible things in a manner that, without revealing information itself
               privileged or protected, will enable the parties to assess the claim.
                  (B) Information Produced. If information produced in response to a
               subpoena is subject to a claim of privilege or of protection as trial-
               preparation material, the person making the claim may notify any party that
               received the information of the claim and the basis for it. After being
               notified, a party must promptly return, sequester, or destroy the specified
               information and any copies it has; must not use or disclose the information
               until the claim is resolved; must take reasonable steps to retrieve the
               information if the party disclosed it before being notified; and may promptly
               present the information under seal to the court for the district where
               compliance is required for a determination of the claim. The person who
               produced the information must preserve the information until the claim is
               resolved.
        The subpoena requested that a complete certify copy shall be issued to the undersigned to

 the following address P.O. Box 9022074, San Juan, Puerto Rico 00902-2074 and to

 cgarcia@garciariveralaw.com within a term of ten (10) days from the date of notification of the

 Order. The Order may be notified by facsimile. Noncompliance with this Order may result in

 finding the Pharmacies in contempt of this Honorable Court. Be Registered and Notified;

    In San Juan, Puerto Rico May____, 2018.

 _______________________________
 MILDRED CABÁN FLORES
 JUDGE




                                                                                               13
